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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                         Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                                Case No. 23-90147 (DRJ)

                                       Debtors. 1                        (Jointly Administered)

                                                                         Related Docket Nos. 536, 701

                          NOTICE OF SUCCESSFUL BID FOR THE SALE OF
                           SUBSTANTIALLY ALL OF DEBTORS’ ASSETS

       PLEASE TAKE NOTICE that on May 14, 2023, the Debtors filed their Debtors’
Emergency Motion for Entry of Orders (A)(I) Authorizing Asset Purchase Agreement for Sale of
Substantially All of Debtors Assets, (II) Approving Bid Procedures for Sale of Debtors Assets, (III)
Approving Bid Protections, (IV) Scheduling Certain Dates with Respect Thereto, (V) Approving the
Form and Manner of Notice Thereof, and (VI) Approving Contract Assumption and Assignment
Procedures; (B) Approving (I) Sale of Certain Assets Free and Clear of All Liens, Claims,
Encumbrances, and Other Interests, and (II) Assumption and Assignment of Certain Contracts and
Leases; and (C) Granting Related Relief [Docket No. 536] (the “Bid Procedures & Sale Motion”).

        PLEASE TAKE NOTICE that on June 22, 2023, the Court entered the Order (I) Approving
Bid Procedures for Sale of the Debtors' Assets, (II) Approving Bid Protections, (III) Scheduling
Certain Dates with Respect Thereto, (IV) Approving the Form and Manner of Notice Thereof, and
(V) Approving Contract Assumption and Assignment Procedures [Docket No. 701] (the “Bid
Procedures Order”), approving the Bid Procedures2 and establishing, among other things, procedures
to solicit Qualifying Bids, Procedures for the Assumption and Assignment of Executory Contracts
and Unexpired Leases, and scheduling the Auction and Sale Hearing.

        PLEASE TAKE FURTHER NOTICE that following the conclusion of the Auction, which
commenced on August 2, 2023, and concluded on August 4, 2023, pursuant to the terms of the Bid
Procedures, the Debtors hereby file this Notice of Successful Bid for the Sale of Substantially All of
Debtors’ Assets (the “Successful Bid”) to set forth the identity of the Successful Bidder (defined
below) and summarize the terms of the Successful Bid. The Successful Bid is set forth in the Letter
of Intent by GPM Investments, LLC, et al. (the “Successful Bidder”), attached hereto as Exhibit A
(the “LOI”),3 and incorporated herein by reference. The Sale referenced in the LOI with the
Successful Bidder is subject to definitive documentation and Court approval.


1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
       Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 3650 Mansell
       Road, Suite 250, Alpharetta, GA 30022.
2
       Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Bid Procedures Order
       or, as applicable, the Bid Procedures attached thereto.
3
       The Debtors will file an executed version when available.
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       PLEASE TAKE FURTHER NOTICE that at the Sale Hearing on August 7, 2023, at 2:00
p.m. (Central Time), the Debtors will not seek approval of the sale contemplated by the LOI, nor to
assume and assign any unexpired leases or executory contracts pursuant to the LOI. Parties will
continue to have the right to object to (or amend their previously filed objections to) the Sale and
Adequate Assurance in connection with a future hearing, to be separately noticed, at which the
Debtors expect to seek approval of the transaction contemplated by the LOI.

 Dated: August 4, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ Michael D. Warner
                                                 Michael D. Warner (TX Bar No. 00792304)
                                                 Steven W. Golden (TX Bar No. 24099681)
                                                 440 Louisiana Street, Suite 900
                                                 Houston, TX 77002
                                                 Telephone: (713) 691-9385
                                                 Facsimile: (713) 691-9407
                                                 mwarner@pszjlaw.com
                                                 sgolden@pszjlaw.com

                                                 -and-

                                                 Jeffrey N. Pomerantz (admitted pro hac vice)
                                                 Jeffrey W. Dulberg (admitted pro hac vice)
                                                 10100 Santa Monica Blvd., 13th Floor
                                                 Los Angeles, CA 90067
                                                 Telephone: (310) 277-6910
                                                 Facsimile: (310) 201-0760
                                                 jpomerantz@pszjlaw.com
                                                 jdulberg@pszjlaw.com

                                                 Counsel to the Debtors and Debtors in Possession




                                 CERTIFICATE OF SERVICE
       I hereby certify that on August 4, 2023, a true and correct copy of the above and foregoing
has been served on all parties that are registered to receive electronic transmission through this
Court’s CM/ECF filing system in these cases.
                                                     /s/ Michael D. Warner
                                                     Michael D. Warner




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                          EXHIBIT A
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                                                                                   STRICTLY CONFIDENTIAL
                                                                            FOR DISCUSSION PURPOSES ONLY




8565 Magellan Parkway, Ste 400, Richmond, Virginia 23227 Phone: (804) 730-1568 Fax: (804) 559-3285


 August 4, 2023

 Pachulski Stang Ziehl & Jones LLP
 10100 Santa Monica Boulevard, 13th Floor
 Los Angeles, California 90067
 Attn.: Jeffrey Pomerantz (jpomerantz@pszjlaw.com)
        Jeffrey Dulberg (jdulberg@pszjlaw.com)

 Raymond James & Associates, Inc.
 Attn: Scott Garfinkel (scott.garfinkel@raymondjames.com)
       Roger Woodman (roger.woodman@raymondjames.com)
       Jake Wainwright (jake.wainwright@raymondjames.com)

 Counsel to the Official Committee of Unsecured Creditors, McDermott Will & Emery LLP
 Attn: Maris J. Kandestin (mkandestin@mwe.com)
       Chuck Gibbs (crgibbs@mwe.com)
       Marcus Helt (mhelt@mwe.com)

 Counsel to the DIP Agent, Greenberg Traurig, LLP
 Attn: John D. Elrod, Esq. (elrodj@gtlaw.com)
       Shari Heyen, Esq. (heyens@gtlaw.com)

 Gentlemen:
 On behalf of GPM Investments, LLC, its subsidiaries and affiliated entities (collectively, “GPM”), we are
 delighted to provide this revised proposal with regard to a potential asset acquisition (the “Transaction”)
 by GPM of substantially all or certain, as set forth below, of the assets which comprise the bankruptcy
 estates of Mountain Express Oil Company and its affiliated entities (collectively, the “Company”) in
 connection with the pending cases filed by the Company in the United States Bankruptcy Court for the
 Southern District of Texas, Houston Division (the “Bankruptcy Court”) pursuant to chapter 11 of title 11
 of the United States Code (as amended, the “Bankruptcy Code”) on March 18, 2023, including, without
 limitation, certain real estate interests, leases, licenses and improvements owned or leased by the Company,
 including all fixtures, equipment and inventory, and all assets and businesses relating to any and all of the
 foregoing, including certain or all, as set forth below, of the trademarks and other intellectual property
 rights of the Company (collectively, the “Business”). As noted below, immediately upon execution of the
 definitive Agreement and issuance of the Order by the Bankruptcy Court, and following the Bankruptcy
 Court’s rejection of the Oak Street leases as set forth below, we are prepared to deliver to the Company the
 sum of $13.5 million of the below proceeds, to be utilized by the Company in accordance with the
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Approved Budget (as defined below) (the “Advanced Proceeds”). The acquisition would include GPM’s
affiliate, GPM Petroleum, LLC (“GPMP”), a subsidiary of GPM Petroleum LP (“GPM Petroleum”),
acquiring the supplier based intangible and other rights associated with the wholesale distribution of fuel
to the stores comprising part of the Business. The acquisition would also include pre-closing accrued but
unpaid incentive payments under the existing fuel supply agreements with ExxonMobil. We believe that
our proposal will allow the Company to execute an orderly winding-down of the Business while
allowing for continued employment of a majority of the Company’s employees. Additionally, we
believe that our proposal will provide the opportunity for the hundreds of the Company’s dealers to
continue to operate their small businesses at the stations and provide for employment of their
thousands of employees, as opposed to causing the creditors, employees, the dealers’ small
businesses, and other Company stakeholders to be subject to a Chapter 7 liquidation.
About GPM Investments, LLC
GPM Investments, LLC is wholly owned by ARKO Corp., a Fortune 500 company that is publicly traded
on NASDAQ (NASDAQ: ARKO) with a market cap of approximately $1 billion.
GPM is the sixth largest convenience store chain in the United States and one of the largest motor fuel
distributors in the United States, operating and/or supplying over 3,700 convenience stores, cardlock
locations and independent gas stations in more than 30 states. GPM sells branded gas at most of its
locations and also has stores that sell unbranded gas under GPM’s proprietary fuel brands such as fas fuel®.
GPM’s annual fuel volume is over 2 billion gallons.
GPM is headquartered in Richmond, Virginia, and employs approximately 14,000 employees. Since 2013,
GPM has successfully acquired and integrated approximately 1,300 c-store locations, approximately 1,850
dealer locations, and approximately 300 cardlock sites through 24 acquisitions. GPM’s long-term business
plan is to continue its growth through a smart but aggressive acquisition strategy.
Dedicated Acquisitions Team Enabling Fast Track Closings
GPM has a team of professionals on hand dedicated to acquisitions and who through experience have
developed efficient standardized processes which enable GPM to fast track closing large-scale acquisitions.
Our experienced management team has a proven capability to close and integrate acquisitions. Given this
core expertise, we expect to close this Transaction in an expedited and efficient timeframe.
Valuation, Consideration and Inventory
Under our proposal, GPM proposes for the Company to receive consideration at closing of approximately
$49 million as follows (collectively, the “Valuation”):
    fuel and usable, merchandise inventory (in each case, to the extent owned by the Company) for
     each company-operated leased location in which GPM becomes a tenant and with respect to fuel
     inventory only, any consignment sites where GPM becomes the fuel supplier, as set forth below, at
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       cost, together with non-defaulted current collectable accounts receivables of the Company, which
       valuation FTI has estimated in the aggregate to be approximately $13 million; plus
    the twenty-three (23) travel centers that comprise part of the Business, together with all assets to
     the extent related thereto (collectively, the “Travel Centers”), subject to consent for the applicable
     leases to be assigned to and assumed by GPM at closing and to such leases being amended in the
     manner set forth below, together with the non-controlled fuel supply/consignment agreements
     which are assigned to and assumed by GPM as set forth below (which agreements are for supplying
     approximately 119 million gallons of fuel per year per annum at a rate of approximately 5 cents per
     gallon, in each case as FTI has indicated), collectively for approximately $15.25 million in the
     aggregate; plus
    $18.75 million which, simultaneously with being paid by GPM to the Company, will be paid and/or
     credited to GPM by affiliates of Blue Owl Real Estate Capital, LLC (“Oak Street”), and Oak Street
     will additionally defer rent payments until closing of the Transaction (estimated to be approximately
     $12 million-$17 million, and subject to an outside date to be agreed upon by the parties); plus
    $2 million for an assignment of any and all funds received on account of pre-closing accrued and
     unpaid subtenant rent from the subleases with Brothers/GSS and Imperial, which amount
     collectively FTI has advised is approximately $5.6 million currently, plus another $1.4 million per
     month on a going forward basis, provided that the Company has not collected, forgiven, or waived
     or released its rights to such amounts.
   Our proposed Transaction will exclude the following assets, which may be retained for the benefit of
   the DIP lenders (collectively, the “Excluded Assets”):
    all owned real estate (which we understand from Raymond James has been valued at approximately
     $3 million); plus
    any and all claims and causes of action of the Company arising prior to the commencement of the
     Company’s bankruptcy cases.
In addition, for the avoidance of doubt, the Company would retain any and all of its cash on hand and
funds in bank accounts, and the Company has represented that the Company is not holding any dealer
deposits in segregated accounts.

The Advanced Proceeds would be utilized by the Company pursuant to the approved budget through
October 31, 2023 attached hereto as Exhibit A (the “Approved Budget”). The Approved Budget will
include budgeted amounts for the Company’s operating costs and professional fees, as well as provide for
the payment of Georgia post-petition taxes. Any available savings/excess cash flow will inure to the benefit
of the Company’s DIP lenders, after payment of the $1 million portion of the transaction fee owed to
Raymond James on account of the closing of the Transaction that it has agreed to defer.
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Assumptions
Existing Leases
Acquisition of the Travel Centers, other leases, inventory and accounts receivables to be acquired with
respect to each of the leased locations (GPM will also receive all of the Company’s interests in the
equipment located at such locations) will be subject to GPM entering into new leases with the applicable
landlords as follows:
Oak Street Leases
With respect to the leases with Oak Street (whose stores represent approximately 55% of the controlled
portfolio and whose total rent is approximately 70% of total rent for the whole portfolio), GPM has reached
an agreement in principle with Oak Street pursuant to which such leases would be required to be rejected
by the Company in the bankruptcy effective as of the entering into of the definitive Agreement and issuance
of the Order by the Bankruptcy Court. Oak Street and the Company will then enter into new, short-term
lease arrangements which shall not exceed ninety (90) days and shall be automatically terminated as of the
closing of the Transaction. Oak Street will agree to defer rent payments over the term of such new short
term leases. As of closing, GPM and Oak Street will enter into new arrangements for these locations.
All Sites Other Than Those Leased from Affiliates of Oak Street
With respect to the leases with each of these respective landlords other than Oak Street, the Order shall
provide that such leases shall be rejected by the Company in the bankruptcy as of August 31, 2023, unless
alternative arrangements are reached as set forth below. GPM and such landlords would then enter into
new lease arrangements effective as of closing as follows:
       GPM would enter into new leases with the landlords for a term of no less than 15 years from the
       closing with six (6) five-year renewal options.
    GPM would, based on the preliminary financial information provided by the Company, propose to
     adjust the rent under the new lease arrangements from and after closing of the Transaction, such
     that such rental amount would be on a 2:1 store-level EBITDA rent coverage ratio based on
     available historical financial information. Additionally, the landlords will cease collecting rent until
     closing of the Transaction. Such accrued and unpaid rent (as such rent is adjusted to amounts set
     forth above) will be payable on a pro rata basis over the following fifteen (15) years of the lease
     terms under each such lease.
    In each of the fourth and seventh month following the closing, GPM would review actual
     cumulative financial results of each location over the initial three month and initial six month
     periods following the closing and calculate the 2:1 coverage ratio based on such results. Such
     periodic reviews will be necessary to account for seasonal adjustments. The rent under each such
     lease would then be readjusted on a going forward basis to conform to such 2:1 coverage ratio, and
     to the extent such revised rent amount (which would be based on actual prior results of financial
     operations) is less than the rent amount actually paid by GPM over the prior period, GPM would
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       receive a credit against going forward rent in the amount of the difference between what GPM
       would have paid in rent during the prior period based on such going forward rental adjustment and
       the amount of rent GPM actual paid over such period.
    Between the 12th and 13th month following the closing, GPM will, based on actual results of
     financial operations over the period since the closing, notify the respective landlords of the
     permanent rent adjustment amount on a going forward basis, which rent adjustment will be a 2:1
     coverage ratio based on such results. The rent under such respective lease would thenceforth be
     permanently adjusted to such rent amount, subject to the escalations provided in the respective
     leases.
    In addition to the foregoing, each of the respective landlords will be required to assume and pay for
     any required Capex payments in order to bring the stores back to operating condition/going concern
     condition, and will further assume all pre-closing environmental and other liabilities and obligations
     related to the stores, in each case which are not retained by the bankruptcy estate, provided that any
     such Capex payments made by the respective landlords will be added to rent.
Any such landlord who does not accept the foregoing terms or does not reach another agreement acceptable
to GPM will be notified that its leases with the Company will be rejected effective August 31, 2023.
Dealer Agreements
GPM’s acquisition/assignment of each of the applicable dealer agreements will be subject to GPM’s review
of such agreement as well as the historical financials relating to such agreement.
Structure; Assumption of Liabilities; Excluded Liabilities
The Transaction would be structured as a free and clear asset acquisition of the Business pursuant to an
Asset Purchase Agreement to be negotiated between GPM and the Company (the “Agreement”), which
shall contain customary representations, warranties, covenants and other provisions in the context of a sale
pursuant to section 363 of the Bankruptcy Code. As you know, we previously provided our comments to
the draft Asset Purchase Agreement provided in the Company’s virtual deal room (“VDR”) and provided
the proposed Exhibit 2.6(d) previously provided, which will be an exhibit to the definitive Agreement,
provided that such comments and Exhibit 2.6(d) will be modified to reflect the proposed Transaction
referenced above and payment due at closing. Please note that the draft asset purchase agreement is still
being reviewed by specialists with our outside counsel, and is therefore subject to further comment
therefrom. In addition, any missing disclosure schedules and exhibits to be attached to the Agreement will
need to be reviewed by our team. Notice of the proposed sale (both actual and notice by publication) shall
be acceptable to GPM in its sole discretion.
In the event GPM is the winning bidder in accordance with the bid procedures, the definitive Agreement
shall be approved by the Bankruptcy Court pursuant to an order (the “Order”) to be entered pursuant to
Sections 363 or 365, as applicable, of the Bankruptcy Code and applicable portions of Titles 18 and 28 of
the United States Code (i) authorizing the sale of the Business to GPM; (ii) approving the Agreement and
the transactions contemplated thereby; (iii) approving, with specific findings of fact in support thereof, the
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sale of the Business to GPM free and clear of all liens, mortgages, pledges, claims, charges, security
interests, hypothecations or encumbrance of any nature whatsoever to the fullest extent permitted by
applicable law and consented to by GPM and pursuant to Section 363(f) of the Bankruptcy Code, including,
without limitation, free and clear of (A) any fixed or contingent, liquidated or unliquidated, disclosed or
undisclosed liability, obligation or claim against the Company or its estate or any of its predecessors or
affiliates, whether based upon successor or vicarious liability or otherwise, and whether any of such items
are known or unknown as of the applicable closing date, (B) any violation or alleged violation of any
environmental laws, or (C) liabilities under any pension, ERISA, tax, employment, labor,
antidiscrimination laws or regulations, any products liability law, tort law, pending or threatened litigation,
security interests, warranties, interests of any kind, known or unknown, liquidated or unliquidated, whether
now existing or arising in the future, or debts of any kind or nature, all of which, if any, shall be retained
by the Company and its estate, except as otherwise expressly provided in the Agreement or Order; (iv)
finding, with specific findings of fact in support thereof, that GPM is a good-faith purchaser entitled to the
protections of Section 363(m) of the Bankruptcy Code; (v) providing that Bankruptcy Rule 6004(g) is
waived and there will be no stay of execution of the Order under Rule 62(a) of the Federal Rules of Civil
Procedure as incorporated by Bankruptcy Rule 7062; (vi) finding, with specific findings of fact in support
thereof, that the Order is final pursuant to Rule 54(b) as incorporated by Bankruptcy Rules 7054(a) and
9014(c); (vii) retaining jurisdiction of the Bankruptcy Court to interpret and enforce the terms and
provisions of the Agreement and the Order; and (viii) finding that the Order is final upon entry by the
Bankruptcy Court (subject to the expiration of applicable appeal periods). Subject to the funding of the
Advanced Proceeds to the Company, which funding will be irrevocable and non-refundable, the Order
would further include full releases against GPM, Oak Street, and each of their respective affiliates,
successors and/or assigns, and each of its and their respective current or former officers, directors,
members, partners, equity holders, and managers, from and against any and all losses, claims, damages,
liabilities, judgments and costs and expenses (including reasonable attorneys’ fees and expenses), whether
arising or pleaded at law or in equity, under contract, statute, tort or otherwise, whether known or unknown,
whether accrued, potential, inchoate, liquidated, contingent or actual, whether asserted or that might have
been asserted, which the Company and/or any claimant under the bankruptcy may now have, has ever had
or may hereafter have against such persons, in respect of or arising out of any matter, act, omission, cause
or event relating to the Company, the assets to be acquired thereunder, or the Business, excluding any
obligations of the parties under the Transaction.
Deposit
In the event our proposal is accepted, GPM and Oak Street will be prepared to submit the $13.5 million
cash deposit, which will constitute the Advanced Proceeds.
Estimated Time to Sign and Close
Subject to GPM having access to the Company’s records and information requested by GPM in order to,
inter alia, apply for and obtain all required licenses and permits to operate the Business, GPM would strive
to close within 60-90 days of the execution and delivery of the definitive Agreement.
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Additionally, in order to efficiently move toward closing of the Transaction, the Company shall agree to
use its commercially reasonable efforts to have the DIP lenders provide a conflict waiver so that Greenberg
Traurig LLP can represent GPM on securities matters related to the Transaction.
Approval and Necessary Consents
Senior management has approved GPM submitting this proposal. The Transaction will be subject to
approval by GPM’s board of managers and the Board of ARKO Corp.
GPM will further need to obtain all other required governmental permits and authorizations in order to
consummate the Transaction, and the timing of obtaining such permits and authorizations would depend
on the applicable regulatory agencies. We believe that the approval and notification process will proceed
efficiently given GPM’s extensive experience with the processes required.
Capital Sources
As of today, GPM has more than $800 million between cash on hand, cash equivalents, and available lines
of credit for acquisitions. Also as was publicly announced, on May 3, 2021, GPM entered into an agreement
with Oak Street Real Estate Capital, LLC (“Oak Street”) for Oak Street to acquire real estate assets from
and/or on behalf of GPM and its affiliates and to lease those assets to GPM and its affiliates, and on May
2, 2023 this commitment was extended through September 30, 2024 and amended to provide availability
of up to $1.5 billion for new transactions entered into after May 2, 2023. Accordingly, no financing
contingency will be required.
Employees
GPM would be interested in hiring the Company’s operations-level, field and certain other employees,
subject to GPM’s normal hiring process and background-checking procedure. GPM’s acquisition on-
boarding process will facilitate a smooth transition for all such employees.
Contacts
All correspondence with GPM shall be directed to:
GPM Investments, LLC                         GPM Investments, LLC
Attn: Arie Kotler, CEO                       Attn: Maury Bricks, General Counsel
8565 Magellan Parkway                        8565 Magellan Parkway
Suite 400                                    Suite 400
Richmond, VA 23227                           Richmond, VA 23227
Ph: 804-730-1568 x1171                       Ph: 804-730-1568 x1109
Fax: 240-525-5520                            Fax: 804-559-3285
e-mail: ak@gpminvestments.com                mbricks@gpminvestments.com
Other Assumptions
This proposal is not intended to constitute a binding and enforceable contract and may be withdrawn for
any or no reason. The terms of this proposal are proprietary to GPM and may not be shared with any third
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parties other than financial and legal advisors assisting the Company in this transaction or as required by
the Bankruptcy Court.

NOTWITHSTANDING ANYTHING SET FORTH HEREIN TO THE CONTRARY, THE TERMS
OF THIS PROPOSAL AND ANY AND ALL DISCUSSIONS BETWEEN THE PARTIES WITH
RESPECT TO THE SUBJECT MATTER HEREOF, SHALL BE NON-BINDING AND SHALL
NOT IN ANY WAY OBLIGATE ANY PARTY HERETO TO PERFORM ANY TRANSACTION
OUTLINED OR DESCRIBED HEREIN, OR ANY OTHER TRANSACTION, OR TO CONTINUE
THEIR DISCUSSIONS WITH RESPECT HERETO OR THERETO. SUCH PARTIES SHALL
ONLY BECOME LEGALLY BOUND WITH RESPECT TO ANY SUCH TRANSACTION IF AND
WHEN THEY EXECUTE AND DELIVER DEFINITIVE TRANSACTION DOCUMENTS
WHICH ARE MUTUALLY ACCEPTABLE TO THE PARTIES TO SUCH DEFINITIVE
TRANSACTION DOCUMENTS.

As we hope is obvious from the foregoing, we are enthusiastic about the prospect of acquiring the Business.
We look forward to receiving your response as soon as possible. Please feel free to contact Arie Kotler at
(313) 779-0906 with any questions or comments.

Very truly yours,

GPM INVESTMENTS, LLC

By:   __________________
      Arie Kotler
      CEO
By:   __________________
      Maury Bricks
      General Counsel
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                                                         Exhibit A
                                                      Approved Budget




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